          Case 2:05-mj-00495-JPD          Document 40        Filed 10/17/05      Page 1 of 3




01

02

03

04

05

06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )
09         Plaintiff,                     )
                                          )            Case No. 05-495 M
10         v.                             )
                                          )            DETENTION ORDER
11   HARPREET SINGH,                      )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14          Offense charged:

15          Count 1. Conspiracy to distribute MDMA and marijuana in violation of 21 U.S.C. §§

16 841(a)(1), and 841(b)(1)(C), and 846.

17          Date of Detention Hearing: October 17, 2005.

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

20 the following:

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          (1)     Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that defendant

23 is a flight risk and a danger to the community based on the nature of the pending charges.

24 Defendant has not overcome the presumption that he is a flight risk.

25

26

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
     PAGE 1
           Case 2:05-mj-00495-JPD         Document 40          Filed 10/17/05    Page 2 of 3




01           (2)   The instant offense involves approximately 56,000 tablets of MDMA, 300

02 pounds of marijuana and approximately $30,000 in cash. As a result, if convicted, the defendant

03 is facing the prospect of a potentially lengthy sentence.

04           (3)   Defendant has no ties to the Western District of Washington.

05           (4)   Defendant is a Canadian and an Indian citizen. Defendant has resided in Canada

06 for 12 years, and has brothers, a wife and two children who reside in Canada. However, the

07 defendant still has family, including parents, who reside in India.

08           (5)   Defendant does not have steady employment in Canada or other property in

09 Canada which would otherwise deter him from failing to appear as required, or from fleeing to

10 India..

11           (6)   Defendant has failed to overcome the presumption that he would be a risk of

12 flight. No conditions or combination of conditions are apparent that will reasonably assure the

13 defendant’s appearance at future Court hearings.

14           IT IS THEREFORE ORDERED:

15           (1)   Defendant shall be detained pending trial and committed to the custody of the

16                 Attorney General for confinement in a correction facility separate, to the extent

17                 practicable, from persons awaiting or serving sentences or being held in custody

18                 pending appeal;

19           (2)   Defendant shall be afforded reasonable opportunity for private consultation with

20                 counsel;

21           (3)   On order of a court of the United States or on request of an attorney for the

22                 government, the person in charge of the corrections facility in which defendant

23                 is confined shall deliver the defendant to a United States Marshal for the purpose

24                 of an appearance in connection with a court proceeding; and

25 / / /

26 / / /

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
     PAGE 2
         Case 2:05-mj-00495-JPD         Document 40       Filed 10/17/05      Page 3 of 3




01         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to

02               counsel for the defendant, to the United States Marshal, and to the United States

03               Pretrial Services Officer.

04               DATED this 17th day of October, 2005.

05

06
                                               A
                                               JAMES P. DONOHUE
                                               United States Magistrate Judge
07

08

09

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
     PAGE 3
